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                        IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW MEXICO

MICHAEL HALL,

                        Plaintiff,

v.                                                          case no. 20-CV-1201 WJ / KRS

QUOTEWIZARD.COM LLC and Jane Does 1-5,

                        Defendants.



                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. Pro. 41, Plaintiff Michael Hall and Defendant Quotewizard.com

LLC hereby dismiss this case in its entirety, with prejudice. All parties shall bear their own fees

and costs.

                                              RESPECTFULLY SUBMITTED,

                                        By:   /s/ Sid Childress
                                              _____________________________
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                                              QuoteWizard.com, LLC,
                                              By its attorneys,

                                              /s/ Kevin P. Polansky
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